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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
              Plaintiff,
                                                      CASE NO: 4:22MJ3214
      vs.

SCOTT LEE MEYER,                                      DETENTION ORDER
              Defendant.



      The defendant is charged with a felony involving production of child
pornography. On the government's motion, the court afforded the defendant an
opportunity for a detention hearing under the Bail Reform Act, 18 U.S.C. §
3142(f). The court concludes the defendant must be detained.

      There is a rebuttable presumption that no condition or combination of
conditions of release will reasonably assure the defendant’s appearance at court
proceedings and the safety of the community because there is probable cause to
believe the defendant committed a felony involving production of child
pornography felony. The defendant has not rebutted this presumption.

      Based on the evidence presented and information of record, the court
finds by a preponderance of the evidence that the defendant's release would
pose a risk of nonappearance at court proceedings, and by clear and convincing
evidence that the defendant's release would pose a risk of harm to the public.

      Specifically, the court finds that the defendant has a criminal history of
sexually assaulting children; and presented no evidence opposing the
presumption of detention. Conditions which restrict Defendant’s travel, personal
contacts, and possession of drugs, alcohol, and/or firearms; require reporting,
education, employment, or treatment; or monitor Defendant’s movements or
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conduct; or any combination of these conditions or others currently proposed or
available (see 18 U.S.C. § 3142(c)), will not sufficiently ameliorate the risks
posed if the defendant is released.

                         Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United
States Court or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to the United States
marshal for a court appearance.

      Dated September 2, 2022.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
